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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                             CASE NO.

       LYNDON GRAY,                                             )      [JURY DEMAND]
       Plaintiff,                                               )
       v.                                                       )
       CITY OF MIAMI, SHAWN COVERT                              )
       CHARLES CHESTER, KEVIN HARRISON                          )
       BELLO GIOJANI,                                           )
                  Defendants,                                   )

                                                 COMPLAINT

               Plaintiff, LYNDON GRAY, by and through counsel, and files his Complaint and alleges
       that:

                                                    PARTIES

               1.    Plaintiff, LYNDON GRAY is a resident of the State of Florida.
               2.    Defendant, CITY OF MIAMI is a municipal entity organized pursuant to the laws
       of Florida.
               3.    At the time of the incident complained herein, Defendant SHAWN COVERT was
       employed as a City of Miami law enforcement officer. COVERT is sued in his individual capacity.
               4.    At the time of the incident complained herein, Defendant CHARLES CHESTER
       was employed as a City of Miami law enforcement officer. CHESTER is sued in his individual
       capacity.
               5.    At the time of the incident complained herein, Defendant KEVIN HARRISON was
       employed as a City of Miami law enforcement officer. HARRISON is sued in his individual
       capacity.
               6.    At the time of the incident complained herein, Defendant BELLO GIOJANI was
       employed as a City of Miami law enforcement officer. GIOJANI is sued in his individual capacity.
               7.    All defendants, acted under color of statute, ordinance, regulation, custom, or usage,
       of Miami-Dade and/or the State of Florida.
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                                          JURISDICTION & VENUE
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                8.    This action is brought pursuant to 42 USC § 1983 and 1988 regarding the violation of
       Plaintiff’s rights under the First and Fourth Amendments of the United States Constitution.
       Plaintiff’s closely related state law claims are within this Court’s jurisdiction pursuant to 28 USC §
       1367.
                9.    Venue is proper because a substantial part of the events giving rise to Plaintiff’s
       claims occurred in the Southern District of Florida.
                10.   All condition precedents have been satisfied including those set out in Fla. Stat. §
       768.28.
                                                GENERAL FACTS

                11.   At approximately 1:30 AM on January 16, 2016, Verified Security System
       (“Verified”) made a 911 call to the City of Miami Police Department. In the call, Verified stated
       that an African American male with a teal long sleeve shirt with pattern pants carrying an ax broke
       into the Family Dollar located at 3311 NW 17th Ave, Miami, Florida 33142.
                12.   After receiving the call, the dispatcher provided the following description of the
       suspect to the Defendants: a burglary was in progress by a black male armed with an ax inside the
       Family Dollar who was attempting to break the safe open. The dispatch further communicated to
       the Defendants that the suspect was in a teal shirt with patterned pants.
                13.   The suspect left the scene by the time Defendants arrived. Shortly after their arrival,
       City of Miami police officer Saenz detained Timothy Dorch. Timothy Dorch fit the description of
       the dispatch (i.e. African American male with a teal shirt and patterned pants). Saenz detained
       Dorch until Defendants could get access to Family Dollars’ surveillance video to positively identify
       Dorch.
                14.   Lyndon Gray, an African American male, worked as a music mentor to at-risk youth
       at The Motivational Edge. The Motivational Edge is adjacent to the Family Dollar. During this
       incident, Gray was wearing a black shirt and non-patterned blue jeans. At approximately 2:15 AM,
       Gray was walking to his vehicle which was parked in front of The Motivational Edge and away
       from the crime scene. As Gray was attempting to unlock his car, Covert came out of the alleyway
       with a gun and screamed for Gray to go across the street. Gray immediately crossed the street.
                15.   At this point, Defendants were collectively waiting for the key holder so they could
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       review the surveillance video of the burglary. Defendants were not actively conducting an
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       investigation but standing in front of their vehicles lollygagging. From the other side of the street,
       Gray politely asked Defendants if they could assist him in accessing his car so he could drive home.
       Defendants did not like the fact that Gray interrupted their conversation by asking for assistance, so
       they approached Gray.
              16.     Defendants informed Gray that he fit the description of someone in the area who had
       just committed a crime. Defendants made this misrepresentation despite the fact that Gray was
       wearing a black shirt and solid color blue jeans (i.e. no patterns). The only thing Gray had in
       common with the suspect was that he was an African American male. In fact, forty seven percent
       of the population in the area is African-American.
              17.     Gray explained to Defendants that he was a teacher at The Motivational Edge,
       where his car was parked and that he was hoping to get their help to access his vehicle. Instead of
       assisting Gray, Defendants began questioning him. Defendants informed Gray that he was being
       detained. In response, Gray asked why he was being detained. After receiving no response from
       Defendants, Gray said, “This stuff is the reason why the police are in the news. I didn’t do
       anything.”
              18.     After this statement was made, Defendants immediately rushed Gray and pushed
       him against the fence. One of the Defendants placed Gray into a chokehold until he could no
       longer breathe. At no point, did Gray resist the officers’ arrest. At this moment, Gray feared for his
       life and felt as if he was going to die.
              19.     Defendants arrested Gray and placed him in handcuffs. Defendants then placed
       Gray in one of the Defendants’ squad cars.
              20.     After Gray’s arrest, Defendants continued to wait for the key holder. Family Dollar’s
       key holder arrived on the scene and provided Chester access to the video. The video revealed that
       Dorch was the actual burglar and Chester positively identified Dorch as the burglar. Chester
       arrested Dorch at 3:10 AM.
              21.     After Dorch’s arrest, Defendants continued to detain Gray in the squad car. Gray
       was in the squad car for nearly three hours. This is especially true where there was no reason to
       believe that Gray was the subject of the investigation after they arrested Dorch.
              22.     Defendants took Gray to jail and he was released at approximately 9:30 PM the next
       day.
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              23.      As a result of this incident, Gray lost property and wages. Gray suffered
       immeasurable pain, discomfort, emotional distress, humiliation, and embarrassment as a result of
       this incident. Additionally, Gray incurred legal costs as a result of the incident.
              24.      Defendants’ falsely arrested and imprisoned Gray on the charges of disorderly
       conduct and resisting an officer without violence. The State of Florida entered a nolle prosequi on
       both charges.

                    Claim 1: FREE SPEECH RETALIATION in violation of 42 USC §1983
                          [Against COVERT, CHESTER, HARRISON, GIOJANI]

              25.      This action is brought pursuant to 42 USC §1983 and in violation of Plaintiff’s right
       to free speech as prescribed by the First Amendment of the United States Constitution and as
       applied to the states under the Fourteenth Amendment therein.
              26.      Gray engaged in conduct or speech protected by the First Amendment when he
       requested Defendants’ assistance and stated: “This stuff is the reason why the police are in the
       news. I didn’t do anything.”
              27.      Defendants responded with retaliatory action sufficient to deter a person of ordinary
       firmness from exercising his First Amendment right. Gray was arrested and choked by Defendants.
              28.      The protected activity caused the retaliation, but for Gray’s speech he would not
       have been arrested or choked into submission.
              29.      Defendants acted under the color of law pursuant to the State of Florida. Defendants
       were municipally employed officers choking and arresting Gray pursuant to the laws of Florida.

                               Claim 2: UNLAWFUL STOP in violation 42 USC §1983
                              [Against COVERT, CHESTER, HARRISON, GIOJANI]

              30.      This action is brought pursuant to 42 USC §1983 in violation of Plaintiff’s right to be
       free of an unreasonable seizure of Plaintiff’s person as stated in the Fourth Amendment of the
       United States Constitution and as applied to the states under the Fourteenth Amendment therein.
              31.      Gray was subject to unlawful stop by said Defendants. Covert, Chester, Harrison,
       and Giojani unlawfully stopped Gray.
              32.      Defendants did not have reasonable suspicion to detain Gray. Covert, Chester,
       Harrison, and Giojani were sitting around lollygagging while waiting for the key holder.
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       Defendants had a person in detention in which Chester provided sworn testimony that this person
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       matched the description of the suspect. Gray being an African-American male is not alone
       sufficient to stop him. Additionally, being an African-American male is not indicative that Gray
       had committed, was in the process of committing, or was going to commit a crime. This is
       especially true when 47 percent of the people located in the area where Gray was stopped are
       African-Americans. Gray simply requested Defendants’ assistance.
              33.     As a result of Defendants’ unlawful and intentional conduct, Gray’s person was
       unreasonably seized. Had it not been for Defendants’ stop without reasonable suspicion Gray
       would not have been detained in police custody for two to three hours.
              34.     Defendants acted under the color of law pursuant to the State of Florida. Defendants
       were municipally employed officers seizing Gray pursuant to the laws of Florida.

                             Claim 3: FALSE ARREST in violation 42 USC §1983
                           [Against COVERT, CHESTER, HARRISON, GIOJANI]

              35.     This action is brought pursuant to 42 USC §1983 in violation of Plaintiff’s right to be
       free of an unreasonable seizure of Plaintiff’s person as stated in the Fourth Amendment of the
       United States Constitution and as applied to the states under the Fourteenth Amendment therein.
              36.     Gray was subject to unreasonable seizure by said Defendants. Covert, Chester,
       Harrison, and Giojani arrested Gray. Gray was detained for approximately one day in Miami-
       Dade County jail.
              37.     Defendants did not have probable cause to arrest Gray. There was nothing that
       Defendants observed that showed that Gray had committed, was in the process of committing, or
       was going to commit a crime. Gray politely requested Defendants’ assistance while they were
       lollygagging and waiting for the key holder. Defendants had another African-American male
       already in custody when Gray requested assistance. Gray was not carrying an ax and his clothing
       did not match the description of the dispatch. Gray was an African American male in an area
       where nearly half the population is African-American. Additionally, Gray’s response that: “This
       stuff is the reason why the police are in the news. I didn’t do anything,” does not constitute
       probable cause for arrest. Covert, Chester, Harrison, and Giojani, further fabricated statements in
       their arrest affidavit to support probable cause which was inconsistent with the events that occurred
       on the night of the arrest.
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                38.   As a result of Defendants’ unlawful and intentional conduct, Gray’s person was
       unreasonably seized. Had it not been for Defendants’ arrest without probable cause, Gray would
       not have been detained in Miami-Dade County jail.
                39.   Defendants acted under the color of law pursuant to the State of Florida. Defendants
       were municipally employed officers arresting Gray pursuant to the laws of Florida.

                             Claim 4: EXCESSIVE FORCE in violation of 42 USC §1983
                              [Against COVERT, CHESTER, HARRISON, GIOJANI]

                40.   This action is brought pursuant to 42 USC § 1983 and in violation of Gray’s right to
       be free of excessive force in the course of an arrest as prescribed by the Fourth Amendment of the
       United States Constitution and as applied to the states under the Fourteenth Amendment therein.
                41.   Pursuant to the Fourth Amendment, Gray had the right to be free from excessive
       force during the course of a criminal apprehension. The force applied to Gray was unreasonable
       under the circumstances. Defendants pushed and shoved Gray against a fence and then choked
       him into submission until he could no longer breathe. Gray complied with their unlawful detention
       and did not resist. Gray did not flee or attempt to flee. Gray did not threaten anyone and did not
       pose a threat to anyone. Defendant observed Gray’s non-resistance yet continued to use excessive
       force, as well as choke Gray while he was already subdued. The crimes he was charged for were
       minor.
                42.   Had Defendants not applied excessive force to Gray when they clearly observed that
       he was not resisting, Gray would not have endured injuries in violation of the Fourth Amendment.
                43.   Defendants acted under the color of law pursuant to the State of Florida. Defendants
       were municipally employed officers apprehending Gray pursuant to the laws of Florida.

                         Claim 5: FALSE ARREST/IMPRISONMENT violation in state law
                              [Against COVERT, CHESTER, HARRISON, GIOJANI]

                44.   This action is brought pursuant to laws of the State of Florida and alleges that
       Covert, Chester, Harrison, and Giojani falsely arrested Gray. Gray was subject to an unlawful
       detention and deprivation of liberty against his will. Gray was detained for approximately one day
       in Miami-Dade County jail against his will.
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                45.   The detention was unreasonable and not warranted by the circumstances. Based on
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       the objective evidence known to Defendants at the time of Gray’s arrest, Defendants knew there
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       was no probable cause to arrest for any offense under Florida law because the information within
       the collective knowledge of Defendants showed that:
                      a. The culprit who matched the description was already in the police’s custody.
                      b. Gray being an African-American male near in a predominantly African-American
                         community does not constitute the commission of a crime.
                      c. Gray’s speech in requesting assistance from the officers and stating this is the reason
                         why the officers are in the news is not probable cause for resisting an officer without
                         violence, disorderly conduct, or any other crime under Florida law.
                46.      The detention was intentional. Defendants intended to cause the unlawful detention
       and deprive Gray of his liberty by executing a false arrest to support Gray’s arrest. Moreover,
       individual officers’ actions were done with bad faith, malicious purpose, or with willful, wanton,
       and deliberate indifference in regards to Gray’s rights, health and safety, thus merits an award of
       punitive damages against said Defendants.
                47.      At the time of the arrest, Defendants did not have probable cause to arrest Gray for
       any crime.
                            Claim 6: FALSE ARREST/IMPRISONMENT violation in state law
                                             [Against CITY OF MIAMI]1

                48.      This action is brought pursuant to laws of the State of Florida and alleges that City of
       Miami falsely arrested Gray. Gray was subject to an unlawful detention and deprivation of liberty
       against his will. Gray was detained for 1 day in the Miami-Dade County jail against his will.
                49.      The detention was unreasonable and not warranted by the circumstances. Based on
       the objective evidence known to Defendants at the time of his arrest, Defendants knew there was
       no probable cause to arrest for any offense under Florida law because information known to the
       Defendant showed unequivocally that:
                      a. A culprit who matched the description was in the police’s custody, while Gray did
                         not match the description.
                      b. Gray being an African-American male near in a predominantly African-American
                         community does not constitute the commission of a crime.


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        Gray brings the state claims against City of Miami in the alternative because a jury could find the
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       police officers did not act in bad faith, malicious purpose, or wanton and willful disregards for
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       Gray’s right.
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                    c. Gray’s speech in requesting assistance from the officers and stating this is the reason
                       why the officers are in the news is not probable cause for resisting an officer without
                       violence, disorderly conduct, or any other crime under Florida law.
              50.      The detention was intentional. Defendant intended to cause the unlawful detention
       and deprive Gray of his liberty.
              51.      At the time of the arrest, Defendant did not have probable cause to arrest Gray for
       any crime.
                                        Claim 7: EXCESSIVE FORCE
                             [Against COVERT, CHESTER, HARRISON, GIOJANI]
              52.      This action is brought pursuant to laws of the State of Florida and alleges that
       Covert, Chester, Harrison, and Giojani applied excessive force upon Gray’s person. Gray was
       battered by Defendants when they attacked him without provocation. The force applied was not
       reasonable under circumstances.
              53.      Gray was the subject of a harmful and offensive contact by said Defendants. Gray
       suffered repeated blows, brief loss of consciousness, and trauma to the body, thereby, injured by
       Defendant.
              54.      Defendants intended to cause the harmful and offensive contact with Gray’s person
       by repeatedly beating him, then tackling and choking him when it was clear that Gray was subdued
       and not resisting. Moreover, individual officers’ actions were done with bad faith, malicious
       purpose, or with willful, wanton, and deliberate indifference in regards to Gray’s rights, health and
       safety, thus merits an award of punitive damages against said Defendants.
              55.      Defendants’ conduct caused a harmful and excessive application of force on Gray’s
       person. If it were not for the repeated punching, as well as tackling him to ground and choking
       Gray until he briefly loss consciousness then Gray would not have suffered a harmful and excessive
       application of force.
              56.      Gray did not consent to the harmful and excessive application force by said
       Defendants.
                            Claim 8: EXCESSIVE FORCE [Against CITY OF MIAMI]

              57.      This action is brought pursuant to laws of the State of Florida and alleges that City of
       Miami applied excessive force upon Gray’s person. Gray was battered by Defendant when it
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       attacked him without provocation. The force applied was not reasonable under circumstances.
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              58.      Gray was subject of a harmful and offensive contact by said Defendant. Gray
       suffered repeated blows, brief loss of consciousness, and trauma to the body, thereby, injured by
       Defendant.
              59.      Defendant intended to cause the harmful and offensive contact with Gray’s person
       by repeatedly beating him, then tackling and choking him when it was clear that Gray was subdued
       and not resisting.
              60.      Defendant’s conduct caused a harmful and excessive application of force on Gray’s
       person. If it was not for the repeated punching, as well as tackling him to ground and choking Gray
       until he briefly loss consciousness then Gray would not have suffered a harmful and excessive
       application of force.
              61.      Gray did not consent to the harmful and excessive application force by said
       Defendant.
                                    CLAIM 9: MALICIOUS PROSECUTION
                             [Against COVERT, CHESTER, HARRISON, GIOJANI]

              62.      This action is brought pursuant to the laws of Florida against Covert, Chester,
       Harrison, and Giojani.
              63.      A criminal proceeding in the County Court of Miami-Dade County, Florida was
       commenced against Gray. The persons responsible for the initiation of the criminal proceeding
       were Defendants.
              64.      The criminal proceeding ended with the state dropping the charges.
              65.      There was an absence of probable cause for the original proceeding. At the time of
       the original proceeding, Defendants did not have probable cause to arrest or prosecute Gray for any
       of the charges. Specifically, the facts known to the Defendants were:
                    a. A culprit who matched the description was in the police’s custody, while Gray did
                       not match the description.
                    b. Gray being an African-American male near in a predominantly African-American
                       community does not constitute the commission of a crime.
                    c. Gray’s speech in requesting assistance from the officers and stating this is the reason
                       why the officers are in the news is not probable cause for resisting an officer without
                       violence, disorderly conduct, or any other crime under Florida law.
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              66.     There was malice on the part of Defendants when they arrested and prosecuted Gray
       because they knew no crime had been committed to support the arrest and the continued
       prosecution. Defendants knew Gray was not the subject of the crime and, while Defendants were
       lollygagging, Gray had simply requested assistance to retrieve his vehicle. Instead, Defendants
       fabricated probable cause by stating that Gray failed to comply with Defendants’ requests and he
       matched the description of the subject. This was false. Defendants were the driving force of the
       criminal proceeding against Gray as there were no other bases for the prosecution except for
       Defendants allegations.
              67.     Gray suffered damages as a result of the criminal proceeding. These damages include
       but not limited to emotional, physical, and financial injury. Gray suffered humiliation and
       embarrassment as result of this incident. Additionally, Gray incurred unnecessary legal costs as a
       result of the defense of this matter.
                                                      PRAYER

              Wherefore, Lyndon Gray, for each and every cause of action above demands the following
       relief, jointly and severally, against all Defendants;
              a.      Compensatory general and special damages in an amount in accordance with proof;
              b.      Consequential Damages;
              c.      Exemplary damages, against each and every Defendant, for intentional acts
                      described above or for those done negligently or recklessly or with deliberate
                      indifference, in an amount sufficient to deter the conduct of said defendants;
              d.      Reasonable attorneys’ fees and expenses of litigation, including those fees permitted
                      by 42 U.S.C. § 1988;
              e.      Prejudgment Interests where permitted by law,
              f.      Punitive Damages against the individual Defendants.
              g.      Costs of suit and interest accrued incurred herein; and
              h.      Other forms equitable and/or legal relief the Court deems just or proper.
                                                                 Respectfully Submitted,
                                                                 s/Faudlin Pierre
                                                                 Faudlin Pierre
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                                                                 Attorney for Plaintiff
                                                                 18900 NE 1st Court
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